         Case 1:23-cr-00229-CJN Document 30 Filed 09/27/23 Page 1 of 10




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                       :
                                                :
                                                :
               v.                               :           Cr. No. 23-229 (TJK)
                                                :
TAYLOR TARANTO,                                 :
                                                :
                  Defendant.                    :
____________________________________            :

                                   MOTION TO SUPPRESS

       Pursuant to Federal Rule of Criminal Procedure 12(b)(3), Mr. Taylor Taranto, through

counsel, respectfully moves this Court to suppress at trial the items seized from Mr. Taranto’s

vehicle on June 29 and June 30, 2023 because that vehicle was subject to repeated unconstitutional

searches, in violation of his rights under the Fourth Amendment of the United States Constitution.

An evidentiary hearing on this motion is requested. Mr. Taranto also wishes to reserve any right

to file supplemental pleadings in support of this motion following the evidentiary hearing.

                                  STATEMENT OF FACTS

       Mr. Taranto’s charges in this case stem from two distinct events—his alleged entry of the

U.S. Capitol on January 6, 2021, and his possession of two firearms, a large capacity magazine,

and additional ammunition on June 29, 2023. See Dkt. 15. This motion to suppress concerns the

searches that led to the recovery of the firearms, magazine and ammunition from his vehicle on

June 29, 2023 and other items located in his vehicle the following day.

       On the morning of June 29, 2023, a magistrate of this Court issued a warrant for Mr.

Taranto’s arrest for four misdemeanor offenses based on his alleged illegal entry into the U.S.


                                                1
           Case 1:23-cr-00229-CJN Document 30 Filed 09/27/23 Page 2 of 10




Capitol on January 6, 2021.           At some point prior, U.S. Capitol Police had released a law

enforcement bulletin for Mr. Taranto based on comments he made in a livestream during which

he at some point referenced the National Institute of Standards and Technology in Maryland.

        At around noon on June 29, 2023, Mr. Taranto began livestreaming in the Kalorama

neighborhood of Washington DC, apparently filming on streets near the house of a Secret Service

protectee. Mr. Taranto then entered wooded property that is believed to be part of Rock Creek

Park, continuing down the hill in the opposite direction. At approximately 12:16 pm, he was

arrested exiting the woods pursuant to the warrant relating to January 6, 2021. No firearms,

dangerous devices, or other contraband were located on his person. By approximately 12:58pm,

Mr. Taranto was transported away from the scene and to the FBI field office.

        Officers thereafter located Mr. Taranto’s vehicle—a large van—parked lawfully at 2404

Kalorama Rd NW. Citing to purported concerns about potential explosives in the vehicle, MPD

Explosives Ordinance Disposal (EOD) and FBI Special Agents Bomb Technicians (SABTs)

conducted a protective sweep of the vehicle. According to government records, MPD Officer

Williams Washington Jr. reportedly ran an EOD canine named Harley around the vehicle to search

for the scent of explosives. According to the Government, MPD department policy does not require

the use of a body worn camera (BWC) during a sniff-search for explosives because of concerns

that the Bluetooth from the BWC could set off certain types of explosives. The Government has

explained that as a result, there is no BWC footage of the sniff-search conducted by EOD canine

Harley. 1 However, police records and statements by law enforcement captured on BWC after the



1
 The government has provided BWC footage that depicts the search from a great distance, but it is too grainy to
make out a clear outline of the dog.

                                                         2
          Case 1:23-cr-00229-CJN Document 30 Filed 09/27/23 Page 3 of 10




search indicate that the dog did not alert to the presence of explosives in Mr. Taranto’s vehicle.

        Approximately 20-30 minutes later, a different canine (Trek) and MPD officer (a canine

handler by the name of Boarman) arrived on scene. According to law enforcement reports, Trek

has received training to detect firearms. Officer Boarman’s BWC captured Trek’s search.

According to that footage, Trek walked around the vehicle once without alerting. Trek repeatedly

made contact with the vehicle with his snout and paws during his sniff-search. During his second

pass, Trek appears to first place a paw outside the drivers side door, then later placed both paws

on the stepdown of the van, which according to the officers on BWC, is an indication regarding

the presence of gunpowder.

        At some point thereafter, based on purported probable cause provided by Trek’s indication,

SABTs Joshua Rothman and Epley searched Mr. Taranto’s vehicle and discovered a locked

backpack on the floor behind the driver’s seat amidst other items. The FBI cut into that bag and

discovered a pistol, rifle, magazines, and ammunition. 2

        The following day, the FBI obtained a search warrant for Mr. Taranto’s vehicle based, in

part, on the guns and other items found inside it. Pursuant to that search warrant, the government

seized various electronic devices and other items that they may attempt to use to prove Mr. Taranto

entered the U.S. Capitol on January 6.

        On July 12, 2023, Mr. Taranto was indicted on charges of carrying a pistol without a license

pursuant to D.C. Code § 22-4504(a)(1) and possession of a large capacity magazine pursuant to

D.C. Code § 7-2506.01(b), along with four trespassory federal code misdemeanors from January



2
  To Counsel’s knowledge, Counsel has not been provided any Body Worn Camera footage of the FBI’s search, and
thus this information is from written law enforcement records provided to the Defense in discovery.

                                                      3
           Case 1:23-cr-00229-CJN Document 30 Filed 09/27/23 Page 4 of 10




6, 2021.

                                           ARGUMENT

       The Fourth Amendment provides that “[t]he right of the people to be secure in their

persons, houses, papers, and effects, against unreasonable searches and seizures, shall not be

violated . . . .” “Few protections are as essential to individual liberty as the right to be free from

unreasonable searches and seizures.” Byrd v. United States, 138 S. Ct. 1518, 1526 (2018).

       “It remains a cardinal principle that searches conducted outside the judicial process,

without prior approval by judge or magistrate, are per se unreasonable under the Fourth

Amendment—subject only to a few specifically established and well-delineated exceptions.”

United States v. Jackson, 415 F.3d 88, 91 (D.C. Cir. 2005) (quoting California v. Acevedo, 500

U.S. 565, 580 (1991)); see also Arizona v. Gant, 556 U.S. 332, 338 (2009). Where, as here, police

officers act without a warrant, the government has the burden of showing their actions are

constitutional under the Fourth Amendment. See Jackson, 415 F.3d at 92 (citing United States v.

Jeffers, 342 U.S. 48, 51 (1951)); see also Coolidge v. New Hampshire, 403 U.S. 443, 455 (1971);

Katz v. United States, 389 U.S. 347, 357 (1967); United States v. Castle, 825 F.3d 625, 634 (D.C.

Cir. 2016); Rouse v. United States, 359 F.2d 1014, 1016 (D.C. Cir. 1966) (“[T]he police[] . . . have

the burden of showing that a warrantless arrest was valid.”); 6 Wayne LaFave, Search and Seizure:

A Treatise on the Fourth Amendment § 11.2(b) (4th ed. 2004) (“if the police acted without a

warrant the burden of proof is on the prosecution”).

       For the reasons discussed below, all evidence obtained from Mr. Taranto’s vehicle was the

result of repeated unconstitutional searches. The government cannot meet its burden to show that

the officers’ actions in this case were constitutional.        The evidence should therefore be


                                                  4
           Case 1:23-cr-00229-CJN Document 30 Filed 09/27/23 Page 5 of 10




suppressed.

I.       THE FIRST SNIFF-SEARCH WAS UNCONSTITUTIONAL.

         The initial sniff-search of the vehicle by the first dog, Harley, was illegal. Although the

Supreme Court has held that “[a] dog sniff . . . that reveals no information other than the location

of a substance that no individual has any right to possess does not violate the Fourth Amendment,”

the dog sniff in this case was materially distinguishable and does violate the Fourth Amendment.

Illinois v. Caballes, 543 U.S. 405, 410 (2005). Unlike a sniff search by a dog trained to detect

only contraband, a sniff-search of a vehicle by a dog trained to detect lawful items in addition to

unlawful ones is a search requiring probable cause. See, e.g., People v. McKnight, 446 P.3d 397,

400 (Colo. 2019) (holding that sniff-search by canine trained to detect both marijuana (which had

been legalized) and other drugs required probable cause); D.C. Police Complaints Board, Policy

Report          #21-3:          Marijuana            Trained           Drug          Detection           Canines,

https://policecomplaints.dc.gov/sites/default/files/dc/sites/office%20of%20police%20complaints/

publication/attachments/Marijuana%20Detection%20K9%20Policy%20Recommendation.FINA

L__0.pdf (discussing this case law and how jurisdictions that have legalized marijuana have

phased out the use of dogs trained in detecting marijuana on the advice of their legal departments). 3

Separately, when the government trespasses onto a vehicle in order to obtain information, that

intrusion violates the Fourth Amendment. United States v. Jones, 565 U.S. 400, 408 (2012). As

a result, when a dog trespasses onto a vehicle during the course of its sniff-search, that also is also




3
  See also Commonwealth v. Devoe, 124 N.E.3d 706 (Mass. App. 2019) (unpublished) (holding that cases about
drug sniffing dogs were not controlling but ultimately avoiding the question of whether a sniff by a dog trained in
detecting firearms and explosives was a search); United States v. Centeno-Gonzalez, 989 F.3d 36, 47 (1st Cir. 2021)
(similar).

                                                         5
          Case 1:23-cr-00229-CJN Document 30 Filed 09/27/23 Page 6 of 10




a search requiring a showing of probable cause. See, e.g., State v. Dorff, 526 P.3d 988, 998 (Idaho

2023).

         Defense counsel does not currently have access to clear body camera footage of the first

sniff-search or discovery about the specifics of Harley’s training. 4 However, based on what has

been provided, it seems Harley was an explosives-detection dog, which are trained to detect scents

that are not necessarily illegal. Furthermore, according to a statement by an officer captured on

one of the BWCs, Harley “jumped” on the vehicle during his search.                           For those two,

independently sufficient reasons, probable cause was required for his sniff-search.

         That probable cause is absent here. Mr. Taranto was arrested for events that took place

on January 6, 2021. The probable cause that supported his arrest cannot justify the sniff-search

for explosives here because there has never been any suggestion—at the time or at any point

since—that he possessed or used explosives on that day. Cf. Centeno-Gonzalez, 989 F.3d at 47

(police had probable cause to run a firearm-detection dog where the police had just arrested

someone based on probable cause that he participated in a shooting).

         The government may try to argue that the statements Mr. Taranto made during his

livestream the day prior provided a justification for the sniff search under exigent circumstances.

But the government has not proven that the officer who ran the sniff search—Officer Williams—

was aware of those comments or had even seen the bulletin about Mr. Taranto. Cf., e.g., United

States v. Hensley, 469 U.S. 221, 231 (1985) (officers could rely on a bulletin produced by other

officers when making the decision to stop the defendant).



4
 We understand the government to be seeking this discovery now pursuant to defense Counsel’s request on
September 14, 2023.

                                                       6
         Case 1:23-cr-00229-CJN Document 30 Filed 09/27/23 Page 7 of 10




       Plus, even if the Officer was aware of the livestream, Mr. Taranto’s statements during it do

not establish exigent circumstances. The government, in previous filings before this Court, has

suggested that Mr. Taranto said his vehicle was self-driving, had a “detonator,” and was “on a one-

way mission to hell” at the NIST facility in Gaithersburg Maryland. First and foremost, these

statements are obviously not serious.     In the same video, Mr. Taranto jokes about loading

“upgraded firmware” by a USB cable, when he is obviously using jumper cables to start an

acquaintance’s vehicle.

       Additionally, even if taken seriously, the comments made by Mr. Taranto and the

acquaintance appear to refer to the white vehicle belonging to the acquaintance visible in the

livestream—which is nowhere to be found in Kalorama—and is not Mr. Taranto’s black vehicle.

Equally important, they reference a place—NIST in Maryland—not located near the Kalorama

neighborhood. Therefore, even if all comments are incorrectly taken out of context as serious

threats, the government had no probable cause to think that Mr. Taranto’s vehicle contained

explosives, making the sniff-search of his vehicle unconstitutional.

II.    THE SECOND SNIFF SEARCH WAS UNCONSTITUTIONAL.

       For similar reasons, the second sniff-search, this time by the firearm detecting dog Trek,

was also a Fourth Amendment violation. As a general matter, firearms are legal in certain

circumstances in Washington, DC. Indeed, possessing them and bearing them publicly is a

constitutional right. See New York State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111

(2022). Thus, the second sniff-search also required probable cause.

       The BWC also shows Trek repeatedly brushing his nose up against the vehicle and putting

his paws on the vehicle during the course of his sniff-search. This separately qualifies the dog’s


                                                7
         Case 1:23-cr-00229-CJN Document 30 Filed 09/27/23 Page 8 of 10




search as a Fourth Amendment search. See Dorff, 526 P.3d at 998.

       The required probable cause for Trek’s sniff-search is missing here. The government has

never suggested that Mr. Taranto was armed on January 6, and so the probable cause that supported

Mr. Taranto’s arrest cannot support the sniff-search of his vehicle for firearms.

       Exigent circumstances do not support this second sniff-search either.              As explained

above, exigent circumstances did not support the initial sniff search of the vehicle. But even if

they had, those exigent circumstances dissipated after the EOD canine failed to alert to the vehicle.

Indeed, the video of the second sniff-search depicts officers that are relaxed and unhurried.

       Notably, furthermore, Mr. Taranto was in no position to use any firearms in his vehicle at

the time the second sniff-search was conducted. Not only had he been arrested and the keys to

his vehicle taken from him, but he was no longer on the scene at all. By that time, he had been

transported to the FBI’s field office. Indeed, one of the MPD officers on the scene for the second

sniff-search tells the other officers that, by this point, Mr. Taranto was “locked up.”

       The second sniff-search was thus in violation of Mr. Taranto’s rights and the fruits of the

search of his vehicle that followed must be suppressed.

III.   THE WARRANTLESS                 SEARCH         INSIDE     THE      AUTOMOBILE            WAS
       UNCONSTITUTIONAL.

       Even if both sniff-searches were lawful, the government still lacked probable cause to

search Mr. Taranto’s car. First, an alert by a drug-sniffing canine can only provide probable cause

to search if the government can prove that the canine is well-trained, reliable, and was not

improperly cued by its handler. Florida v. Harris, 568 U.S. 237, 346-48 (2013). To date, the

government has not provided evidence demonstrating that a canine can reliably detect firearms

(typically made of metal) from inside an enclosed vehicle (also made of metal). Nor, even if dogs

                                                  8
         Case 1:23-cr-00229-CJN Document 30 Filed 09/27/23 Page 9 of 10




can reliably detect firearms as a general matter, has the government provided sufficient discovery

demonstrating that Trek—the canine that purportedly alerted to the presence of a firearm—had

adequate training to be reliable, or alerted in the manner consistent with his training. Similarly, the

Government has also not provided evidence that his handler Officer Boarman had sufficient

training and experience in handling canines generally and Trek in particular, beyond participation

in a basic training course.

       Plus, even if Trek was reliable, alerted as trained, and was not cued, his alerts still cannot

provide probable cause to search Mr. Taranto’s car because firearm possession is lawful in many

circumstances, and the government has not suggested that its dogs can smell the difference

between firearms that are lawfully possessed and ones that are not.

       Thus, the firearms, magazines, and ammunition seized pursuant to the interior search of

the vehicle must be suppressed.

IV.    THE SEARCH OF THE AUTOMOBILE PURSUANT TO A WARRANT WAS
       ALSO UNCONSTIUTIONAL.

       Finally, the government’s search of Mr. Taranto’s vehicle on June 30, 2023, pursuant to a

search warrant was also unconstitutional. The search warrant affidavit relied, in part, on the

evidence obtained during the illegal search of Mr. Taranto’s car the day before and that information

contributed to the magistrate judge’s decision to issue the warrant. Compare United States v.

Dawkins, 17 F.3d 399, 408 (D.C. Cir.), amended, 327 F.3d 1198 (D.C. Cir. 1994) (suppressing

evidence obtained pursuant to search warrant that “listed the weapons observed during the illegal

reentry”); with United States v. Glover, 681 F.3d 411, 418 (D.C. Cir. 2012) (denying motion to

suppress where the subsequent search warrant “did not rely on what the officers observed during

their initial entry.”). Thus, the electronic devices and other items seized pursuant to that search

                                                  9
        Case 1:23-cr-00229-CJN Document 30 Filed 09/27/23 Page 10 of 10




must be suppressed as fruit of the poisonous tree.

                                         CONCLUSION

       For the foregoing reasons, and for any other reasons set forth at a hearing on this motion

and in supplemental pleadings, and that this Court may deem just and proper, Mr. Taranto

respectfully requests that the Court grant this motion and suppress the use of all physical evidence

seized by law enforcement agents from his vehicle.

                                              Respectfully submitted,

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                                                10
